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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
SK/JAM/AFM                                         271 Cadman Plaza East
F. #2016R02228                                     Brooklyn, New York 11201



                                                   October 4, 2021


By ECF

The Honorable Eric R. Komitee
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

              Re:     United States v. Aleksandr Zhukov
                      Criminal Docket No. 18-633 (S-1) (EK)

Dear Judge Komitee:

               The government respectfully submits this letter in connection with the
sentencing of the defendant Aleksandr Zhukov, scheduled for October 15, 2021.

                From half a world away, the defendant built a massive datacenter botnet and
used that botnet to perpetrate a multi-year cybercrime and fraud scheme that swindled U.S.
companies in the digital advertising industry and siphoned millions of dollars out of their
bank accounts and into the defendant’s. In doing so, the defendant did what he had done so
many times before—he gambled. He decided to lie, cheat, and steal from American companies
and bet that he would never be brought to an American courtroom to answer for it.

                Too many international cybercriminals take the same gamble, and there is a
tremendous public interest in deterring them. Schemes like the defendant’s cause financial
losses to hundreds of U.S. companies, impose hardship on legitimate businessmen and
women forced to operate at their own risk and without recourse, and undermine trust and
confidence in online transactions. Criminals like the defendant who manage these criminal
enterprises hide behind keyboards in foreign countries and are careful to avoid putting
themselves at risk of extradition. They use increasingly sophisticated tools and techniques to
obfuscate their true identities and their technical and banking infrastructure is frequently
scattered across multiple international jurisdictions, making it difficult to obtain relevant
evidence and recoup losses. Identifying cybercriminals such as the defendant and bringing them
to justice requires a substantial commitment of law enforcement resources. In light of the
success of law enforcement in dismantling this cybercrime ring, it imperative to deter this
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defendant and other potential cybercriminals by sending a clear message that they risk severe
consequences if they choose to target the United States.

             For the reasons set forth herein, the government respectfully requests that the
Court impose the Probation Department’s recommended sentence of 15 years’ imprisonment.

                              Background and Offense Conduct

               The government realizes that the Court is already familiar with the offense
conduct in this case, having presided over the four-week trial. An overview of the offense
conduct is also set forth in the Presentence Investigation Report (“PSR”). See PSR ¶¶ 7-36. The
following sections are therefore intended to provide only a high-level overview of the basic facts
of the crimes for which the defendant was convicted. Those crimes consisted of the conspiracy
to defraud brands, ad platforms, and others in the digital advertising industry (Count One), the
conspiracy to raise money for and launder proceeds from that scheme (Count Three), and
substantive wire fraud and money laundering conducted in carrying out the scheme (Counts Two
and Four).

               Between September 2014 and December 2016, the defendant carried out a
digital advertising fraud scheme known as Methbot. The defendant was the undisputed
leader of the scheme. GX 667T (defendant was “Project Owner”). He recruited more than
half a dozen computer programmers and other employees to help him perpetrate the scheme
and build up the technical infrastructure required to create fraudulent ad traffic. He provided
these individuals with direction, referred to them as “my developers,” and kept a 75% share
of the scheme’s proceeds for himself.

               The defendant operated his scheme under the name of his purported ad
network, Media Methane. Media Methane had business arrangements with other advertising
networks that enabled it to receive payment in return for placing advertisements—primarily
video advertisements (or “pre-rolls”). The defendant registered the website for Media
Methane, paid for business registration and domain reputation services to make it appear
more legitimate, and enlisted a copywriter to fill the website with content. Through the
website, the defendant falsely represented to others that Media Methane was a Video Ad
Network that would help “broadcasters and publishers reach consumers,” find the “perfect
audience,” and deliver ads “to the right customer at the appropriate time.” GX 1101. He
further falsely represented on his website that, “All the traffic is controlled by such filters as
IAS and Forensiq therefore our publishers get only quality and proven customers.” GX
1101. During the scheme, the defendant directed others to the Media Methane website. GX
1699; GX 2110. He also communicated with others from his Media Methane email account,
and using “Media Methane” in his signature block, to advertise his false goods as real. For
example, on October 15, 2016, the defendant sent an email to a potential business partner in
which he stated (falsely): “We still have a lot of USA traffic perfectly for prerolls, all traffic
good scored by IAS, DV, WhiteOps, MOAT, etc .. we do about 40-50 millions HQ USA
impressions daily.” GX 1684T. He continued to make similar representations through
December 2016.

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               Rather than place advertisements on real publishers’ webpages as promised,
however, the defendant rented approximately 2,000 computer servers located at commercial
datacenters in Dallas, Texas and Amsterdam, the Netherlands, and programmed the
datacenter computer servers (“bots”) to simulate humans viewing ads on webpages. The
defendant and his co-conspirators programmed the bots to load real ads on blank webpages,
but represented that the ads were loading on the webpages of more than 6,000 publishers,
including The New York Times and the New York Post.

                The defendant and his co-conspirators also programmed the bots to appear and
behave like human users, to deceive fraud detection companies (and the advertisers,
publishers, and platforms that hired them) into thinking the bot traffic was in fact human
traffic, and to thereby prevent the traffic from being blocked and ensure later payment for the
ad impressions. To this end, the defendant and his co-conspirators programmed the bots to
falsely represent that they had screens and mouses, falsely represent that they were running
operating systems used for personal computers (Windows and Mac) when they were in fact
running an operating system used for datacenter computer servers (Linux), falsely represent
that they were running commercially available internet browsers (Chrome, Firefox, Internet
Explorer, Firefox) when they were in fact running a custom-made automated browser created
by the defendant and his co-conspirators (the Methanum browser), bypass captchas, accept
cookies, and falsely appear to be signed into the popular social media services Facebook,
Twitter, and Google. The defendant and his co-conspirators also programmed the bots to
click around a screen a randomly determined number of times, simulate a mouse moving
around and scrolling down a webpage, and control and monitor video playback, including the
length of time the video was watched.1

              In addition, the defendant registered the IP addresses associated with his bots
in the names of major U.S. internet service providers. See GX 508, GX 509, GX 510, GX
511. For example, the defendant infiltrated the global WHOIS database through the
AFRINIC registry and registered his bots’ IP addresses in the names of “Comcast Cable
Communications, Inc,” “Time Warner Cable Inc.,” “Verizon Trademark Services LLC,”
“AT&T Services, Inc.,” “Cox Communications Inc,” “Charter Communications Operating,
LLC,” “Cequel Communications Holdings,” and “CenturyLink, Inc” GX 525A. The
defendant also directed that IP addresses be registered in false corporate names that might be
mistaken for home internet providers, including “Home Internet Orang LTD,” “Dallas online
LTD,” “Verison Home Provider LTD,” “AmOL wireless Net,” “Chicago Air Online,”
“HomeChicago Int,” “CH wireless,” “ATOL Intertnet,” “Speed Home Internet LTD,” and


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         This included software features and code specifically designed to deceive the fraud
detection firms DoubleVerify, Forensiq, Integral Ad Science, TubeMogul, FraudLogix,
MOAT, SpringServe, and WhiteOps, and the U.S. companies that were the clients of those
firms.


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“US online LTD.” GX 525B through GX 525K. In this way, the defendant misled others
that the computers in question belonged to customers of these internet service providers,
rather than being located in datacenters. The defendant also entered false usage and location
information into IP databases like MaxMind—a database that, like WHOIS, is widely relied
upon in the industry—to make it appear that the computers in question belonged to real
human internet users located in homes and businesses around the country.

               The defendant’s various communications with his co-conspirators provide a
real-time narration of the scheme. For example:

           On or about July 2, 2014, the defendant told a criminal associate: “I really
            need money;)” “just for a living).” The two individuals then discussed in
            detail how to make money through ad fraud with bots. Zhukov explained:
            “our idea is that we’ll get a lot of browsers on a Dedicated server and complete
            emulation, including mouse moves, and through sockets we’ll change the IP
            address on each browser.”

           On or about July 10, 2014, when asked how he came up with the idea for
            Methbot, the defendant told a criminal associate: “It’s simple. While I was
            drinking I realized that I need money ASAP ) and since I am an experienced
            scam artist/adventurer, I immediately started thinking about how I could screw
            everyone one more time ) and I succeeded ).”

           On or about September 18, 2014, the defendant continued discussing his
            scheme and during the course of the conversation stated that he was the “king
            of fraud!”

           On or about October 28, 2014, the defendant instructed a co-conspirator to
            address the “lack of mouse move,” an undertaking that continued over the
            following year.

           In January 2015, the defendant boasted to an associate: “we have our own
            solution which allow us cross all known checkers and filters . . . it is clever
            server bot which can do absolutely anything .. watch video, click prerolls,
            show IAS traq score +700 etc.”

           In a to-do list dated June 25, 2015, the defendant instructed one of his
            programmers to address “complaints about fake Chrome and mouse move”
            and cause the datacenter computer servers to appear to be signed into
            Facebook: “add authorization for facebook authorized users. There is Google,
            twitter, too; no FB (there should be approximately 40% of them).”

           On or about August 4, 2015, the defendant wrote a note to himself titled
            “ROADMAP” that indicated that after his “Pre-roll launch,” his plan involving
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              “monitoring DV\Forensik filters for the possibility of fucking them over like
              with Google or IAS scheme.”

                In September 2015, the defendant and one of his programmers attended the
annual DMEXCO conference on digital advertising, where thousands of people from
different parts of the digital advertising industry congregate each year. Following the
conference, the defendant contacted the U.S. fraud detection firm Integral Ad Science whose
representatives had been present at the conference and requested more information about its
fraud detection products, under false pretenses, stating “I want to add your filter to us to get
more clean traffic to our advertisers.” In fact, the defendant sought—and obtained—details
on IAS’s fraud detection technology in order to reverse-engineer and circumvent it. During
the conference, the defendant and his co-conspirator described themselves, in an edited self-
taken photo, that they “take on whatever makes money.”

              The defendant and his co-conspirators operated the scheme and tracked the
performance of the bots through a command-and-control server located at CentByCent.com.
The defendant owned CentByCent.com, but hid that fact from public databases by using an
anonymization service and further sought to hide that fact from law enforcement by giving
the anonymization service the name of another individual (Roman Davydov) whom the
defendant termed his “fake director.” The CentByCent.com command-and-control server
provided instructions and resources to the thousands of bots, received statistics back from the
bots regarding the number of fraudulent ad impressions being generated, and forwarded that
information to the defendant and his co-conspirators. Screenshots and photographs of
CentByCent.com were found in the defendant’s devices and electronic storage accounts, and
the defendant’s browsing history indicated that he visited CentByCent.com multiple times a
day.

                Overall, over the course of the scheme, the defendant and his co-conspirators
falsified billions of ad impressions and made millions of dollars. For example, during a
single day in October 2016, the defendant and his co-conspirators recorded more than
$56,000 in revenue from placing more than 442 million fraudulent bid requests and falsifying
more than 16 million ad impressions. Hundreds of brands and ad agencies around the world
collectively paid more than $7 million in advertising fees for fraudulent ad traffic. The
defendant, in turn, reaped millions of dollars in revenue.

                The defendant directed and transferred proceeds from the scheme to and
through multiple personal and corporate bank accounts located around the world. This
included at least four personal bank accounts and at least six corporate bank accounts,
located in Bulgaria, Russia, the United Kingdom, the Czech Republic, Latvia, and Cyprus.
In the course of opening at least one of these accounts, the defendant lied to the bank about
the nature of his business, falsely claiming that it was an “Advertising platform” engaged in
“traffic arbitration” which “is the purchase of traffic from some sources/systems (ad
exchange) and forwarding it to other sites or affiliate programs.” GX 301T. The defendant
re-invested some of the proceeds from the scheme to perpetuate the fraud, including to pay
for servers and IP addresses used in the scheme. He explained: "we take a thousand .. spend
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it to buy 1000 proxies and 4 servers .. this bundle gives us a 2000/month profit … out of it,
we keep 1000 for the next month to buy proxies and servers again … and split a thousand.”
GX 1678TE.

               On December 20, 2016, researchers at White Ops, a private cybersecurity firm
based in New York City, publicly revealed the operation of the scheme in a white paper titled
“The Methbot Operation.” In the white paper, White Ops revealed a list of IP addresses of
computers used to carry out the scheme (the “Methbot IPs” (GX 1)). Following public
disclosure of the scheme, the defendant and his co-conspirators reacted by attempting to
delete evidence, including communications exchanged between and among co-conspirators.
For example, they deleted more than 26,000 emails from the adw0rd.yandex.ru@gmail.com
email account associated with the scheme, which was identified in the white paper and which
was the registration email account for more than 1,400 IP addresses used in the scheme. On
December 23, 2016, the defendant deleted records from his ibetters2@gmail.com account,
which he also used to perpetrate the scheme. GX 1709T. The defendant also deleted the
Methbot code and logs from the datacenter computer servers that he had rented in the U.S.
(GX 103, GX 104), and various LinkedIn messages associated with the scheme (GX 683).
On December 24, 2016, the defendant deleted four servers associated with the scheme,
including servers used to host MediaMethane.com and CentByCent.com (GX 410, GX
411A).

               The scheme deceived and victimized numerous businesses in the digital
advertising industry. The scheme victimized hundreds of brands who sought opportunities to
advertise their goods and services to real human internet users but lost those opportunities
and instead paid for advertisements automatically loaded by computers. These brands
included Pepsi, Purina, GlaxoSmithKline, and the Texas Scottish Rite Hospital for Children.
Google, which provides advertising services for individuals and businesses, identified
hundreds of U.S. companies who, collectively, paid more than $7 million for Zhukov’s
fraudulent ad traffic. GX 1503.

               The scheme victimized more than 6,000 online publishers (GX 6), by creating
false and fraudulent webpages purporting to be located at real publishers’ domains, stealing
the publishers’ identities and misappropriating those identities for a fraudulent purpose,
undermining the reputation and credibility of those publishers in the ad market and reducing
the revenues that the actual publishers would otherwise earn. These publishers included the
New York Times and the New York Post.

               The scheme victimized the SSPs and DSPs (“ad platforms”) by causing them
to receive false information indicating that a real human user had viewed an advertisement
on a real website. These platforms included Google and AdKarma.

              The scheme also victimized internet service providers by stealing their
corporate identities for the purpose of registering IP addresses with false information
(including Comcast, Charter Communications/Time Warner Cable, and others listed in GX
525A); fraud detection firms DoubleVerify (GX 1568A), Forensiq (GX 1573), Integral Ad
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Science, TubeMogul, FraudLogix, MOAT, SpringServe, and WhiteOps (and their clients);
and internet registries and databases, including AFRINIC and Maxmind, to whom the
defendant sent false information about the IP addresses he controlled.

               The defendant specifically targeted American and New York-based
companies. This was not accidental: in one chat communication introduced at trial, a co-
conspirator joked that the Russian government should give the conspirators “a medal for the
disruption of the competitor’s economic power”—referring to U.S. economic power. GX
625T. The defendant responded, “SPOT ON!” Id. Additionally, when fraudulently
registering IP addresses to mask the source of the defendant’s fraudulent traffic—datacenters
in Dallas and Amsterdam—and make it appear that the traffic was originating from human
users throughout the United States, the defendant specifically targeted New York City. GX
614E; Tr. at 2068-2071 (defendant instructs a third party to register IP addresses as “Verizon
Trademark Services, LLC” and asks “can you also change one block to different city? New
York is the best!”).

               The defendant was arrested in Varna, Bulgaria on November 6, 2018.

                                     Guidelines Calculation

       I.      The Guidelines Range

               The government submits that the Court should apply the Guidelines calculation
set forth below, which results in a total offense level of 37 and a criminal history category of I,
producing an advisory range of 210 to 262 months’ imprisonment. This calculation is primarily
driven by the grouping of the defendant’s convictions for wire fraud conspiracy, wire fraud,
money laundering conspiracy, and money laundering, and various enhancements as follows:

               Base Offense Level (§§ 2S1.1(a)(1), 2B1.1(a)(1))                                7

               Plus:    Loss Exceeded $3,500,000 (§ 2B1.1(b)(1)(J))                         +18

               Plus: Involved 10 or More Victims (§ 2B1.1(b)(2)(A))                           +2

               Plus: Substantial Part of the Fraudulent Scheme Committed
                     From Outside the United States and Involved Sophisticated
                     Means (§ 2B1.1(b)(10))                                                   +2

               Plus: Defendant was Convicted of an
                     18 U.S.C. § 1956 Offense (§ 2S1.1(b)(2)(B))                              +2

               Plus: Defendant was an Organizer or Leader (§ 3B1.1(a))                        +4

               Plus: Obstruction of Justice (§ 3C1.1)                                         +2

               Total:                                                                         37

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The foregoing calculation reflects the calculation set forth in the PSR, minus the enhancement
for possession and use of an authentication feature, which the government agrees does not apply
in this case. See PSR ¶¶ 48-49, 55-69, 104.

       II.     The Defendant’s Objection to the Loss Amount Is Without Merit

                The defendant’s objection to the loss amount is without merit and is merely an
attempt to minimize his conduct. The defendant contends that the 18-level enhancement based
on an estimated loss of $7.6 million should not apply because, he alleges, it is “based on
conjecture about the source of the traffic.” See Deft. Mem. at 10-14. This argument ignores the
trial evidence.

                The government introduced evidence at trial of a list of IP addresses associated
with the defendant’s fraud—GX 1 (the “Methbot IPs”). White Ops Senior Director for Detection
Dimitrios Theodorakis testified about the data associated with the Methbot IPs and explained
why the computers registering ad impressions from those IPs all belonged to the same scheme
and to the same bad actor. See Trial Tr. 688-89 (testifying about the White Ops logs for the ad
impressions coming from the IPs in GX 1, which were “classified as Methbot”); GX 1 (“IP
ranges identified as being used by the ‘Methbot’ ad fraud operation from October 2016 through
December 2016”).

                Mr. Theodorakis explained how the ad impressions emanating from the Methbot
IPs shared the same unusual characteristics or red flags. For example, Mr. Theodorakis
explained that White Ops collected copies of the webpages where ads were loading, and that for
the computers registering ad impressions from the Methbot IPs, all of the webpages were empty
pages with the word “Meth” embedded in the code. Trial Tr. 698-700, 721-23 (the “samples of
web pages that we saw from these IPs and one of the functions had the name meth and it was in
every single sample of pages that we collected, the meth word was everywhere”; “the traffic we
were seeing from these IPs consistently had the characteristics of meth in the pages that were
being rendered”; “the highlighted section includes the word meth and that was consistently what
we were observing from these IPs”). The Methbot IPs also shared other red flags, including:
mismatched ISP/ASN information that was mismatched in a specific way (where the ISP
signified a residential internet provider but the ASN signified a datacenter); round-the-clock
internet activity with a spike around 8:00 a.m.; a consistent setting of Eastern time zone; certain
esoteric browser versions not in common use; a pattern of rapid and voluminous mouse
movements; a specific typo in the browser plugins; and no supported voices. See GX 8; Trial Tr.
706-14, 725 (explaining that these shared characteristics amounted to a “fingerprint” of the bot).
Therefore, all 1.2 billion ad impressions recorded from the IPs in GX 1 were classified as
nonhuman and all of them were classified as Methbot. Trial Tr. 715-16, 754.

               Per Bjork, a group product manager at Google who works on its ad traffic quality
team, explained that he analyzed Google’s own logs for the ad impressions emanating from the
Methbot IPs and his observations corroborated the finding that those ad impressions were all
generated by the same bot. Trial Tr. 2466, 2489-93 (explaining that the ad impression activity
from the Methbot IPs all shared the same red flags); Trial Tr. 2493 (“The traffic from all these IP
addresses were very consistent and it looks like they were from the same source.”).

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                Lena Loewenstine, a computer scientist for the FBI, testified about her analysis of
one of the defendant’s 2,000 servers and tied the Methbot IPs to the defendant in several ways.
Ms. Loewenstine testified that she “found IPs in several different places on the drive, in the
database, in the logs; and [she] also found some files that were part of the code that also
contained some IP information” and “almost all of the IPs I found on the drive matched this list
of IPs from White Ops” that was GX 1. Trial Tr. 616-17.

                Business records and communications in the case also tied the Methbot IPs to the
defendant and reflected extensive cross-corroboration from different evidentiary sources
showing that the defendant controlled the IP addresses listed in GX 1. See, e.g., GX 209, 210,
211, 231 (IP leasing company letters of authorization issued to the defendant giving him the
exclusive right to use the listed IP ranges); GX 1802, 1803, 1804, 1805, 1806 (AFRINIC
registration records for IP ranges the defendant registered with AFRINIC); GX 525A, 525B,
525C, 525D, 525E, 525F, 525G, 525H, 525I, 525J, 525K (Domain Tools registration records for
IP ranges in the defendant’s email and stolen corporate names); GX 614E (defendant discussing
registration of IPs in MaxMind); GX 1549 (fraud monitoring report exchanged with Denisoff
listing IPs).

                 The defendant argues that Ms. Loewenstine’s testimony “casts doubt on the
reliability of IP addresses to determine [] the source of internet traffic” because she testified that
IP addresses could be spoofed. Def. Mem. at 11. In making this argument, the defendant
misleads by selectively quoting the record. Despite the defendant’s repeated efforts to inject
confusion into the record on this point, Ms. Loewenstine was quite clear on how the defendant’s
servers sent traffic from the IPs listed on GX 1. Ms. Loewenstine explained that the browser on
the defendant’s bot servers consulted a master database of IPs hosted at the defendant’s
command-and-control server (centbycent.com), and the browser would then “set the IP [of the
bot server] to whatever IP it had chosen from the database.” Trial Tr. 604-05. Ms. Loewenstine
found these so-called “proxy” IPs in several different places on the server she analyzed:

               [The IP addresses that she found on the defendant’s server] were
               used to launch the Methanum browser. They were used when the
               browser was trying to connect. It was – it was being set and when
               it would make a connection on the internet, the IPs that I compared
               to this list were being used in the browser to make it look like
               traffic was coming from that – those IPs. . . . [I]t spoofs that the
               traffic was coming from these IPs. . . .

               The Government Exhibit 1 is a list of IPs that’s White Ops’. When
               they look at traffic that they obtained from Methbot, they were
               making a list [that] was all the IPs that they saw the traffic coming
               from.

               So the way the code works, when it[] sent communications on the
               internet, it would say it’s coming from an IP that was not the true
               IP of the drive. So, WhiteOps would not see that true IP. They


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               would see these other IPs that the code is pretending the traffic is
               coming from.

Trial Tr. 624, 626. This scheme worked because the defendant controlled both the true IPs of the
servers and the proxy IPs that the browser used to disguise the servers.

                 The defendant argues that Mr. Bjorke’s testimony “casts even further doubt on the
reliability of the loss amount calculated” because, the defendant contends, it is unclear whether
the advertisers “actually paid” the entire $7.6 million listed in Google’s table of losses and
whether Google then refunded the money back to the advertisers. The Court need not engage on
this question because it is legally irrelevant whether the money actually went out the advertisers’
doors and whether Google refunded it—loss amounts under the Guidelines account for both
actual and intended loss, and so the defendant’s failed attempts to obtain money from the victims
are well within bounds. See U.S.S.G. § 2B1.1(b)(1) and Application Note 3. In any event, the
defendant once again misleads by selectively quoting the record. Mr. Bjorke testified that the
amounts listed in GX 1503 were “the total cost of the advertising space” that advertisers bought,
that “[m]ost of this was paid to sellers because most of the traffic had happened before
December,” that “it’s possible that a portion of this amount were corrected during December, and
therefore, was not invoiced because we were able to make adjustments before we sent them the
invoice for December,” and “I know the majority of this was invoiced, but there’s a possibility
about 10 to 15 percent was not invoiced.” Trial Tr. 2569-71. Given those additional details,
even if the ultimate money flow were relevant for the loss calculation (which it is not), and even
limiting the loss calculation to the amount “actually paid,” the actual losses are at least $6.4
million, subjecting the defendant to the same 18-level Guidelines enhancement.2

                Therefore, the 18-level enhancement for loss amount is supported by specific,
credible, unrefuted evidence and is not speculative—in other words, it is a reasonable estimate
based on the available information. See U.S.S.G. § 2B1.1 Application Note 3(C) (district court
“need only make a reasonable estimate of the loss . . . . based on available information” and “the
court’s loss determination is entitled to appropriate deference”).

             The defendant cites cases from the drug context to suggest that more is required,
Def. Mem. 12-13, but those cases are inapposite because the Second Circuit has rejected the

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                The defendant proposes an alternative loss amount based solely on transactions
involving Plexious. This calculation drastically understates the loss in this case. Any alternative
loss calculation must take into account all of the defendant’s transactions with Plexious, Verta
Media, and Ad Karma, at a minimum, as the defendant obtained money from each of these
entities in exchange for providing “advertising” services—which he obviously did not provide,
since the ads were never shown to real human beings—and therefore received fraudulent
proceeds from all three of these entities. The government presented evidence at trial
summarizing reams of bank records that showed that the defendant received more than $3.5
million in proceeds from these three entities alone. See GX 348; see also U.S.S.G. § 2B1.1
Application Note 3(B) (court may use gain as an alternative measure of loss if loss cannot
reasonably be determined).

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reasoning of those cases in the fraud context. See United States v. Bryant, 128 F.3d 74, 75 (2d
Cir. 1997) (“In establishing sentencing tables that tie a defendant’s offense level to the amount of
loss caused by his offense . . . the Guidelines do not require that the sentencing court calculate
the amount of loss with certainty or precision.”); United States v. Coppola, 671 F.3d 220, 249-50
(2d Cir. 2012) (the “evidence need not . . . establish loss with absolute precision”); see, e.g., id.
at 250-51 (inferring loss amount based on defendant’s lifestyle).3

       III.    The Guidelines Calculation is Fair

               The defendant argues that the Guidelines calculation, and specifically the
enhancements for the loss amount and other specific offense characteristics, overstate the
defendant’s level of criminal culpability. Def. Mem. at 16. That is not so, for several reasons.

                First, the loss amount proposed by the government and the Probation Department
is actually a conservative estimate and understates both the actual and intended losses in this
case. This is because the loss amount—$7.6 million—is based only on Google’s actual losses
for the year 2016. This number is limited in three ways: (i) it only accounts for the ad
impressions that traversed Google’s platform, which is an undercount because Google does not
intermediate every ad impression on the internet and the defendant’s wide-ranging bot traffic
was not limited to interactions with Google; (ii) it only accounts for the fraudulent ad
impressions that registered successfully (i.e., 40% of the Methbot impressions that Google
recorded), which is an undercount because there were also fraudulent ad impressions that the
defendant attempted but ultimately failed (i.e., 60% of the Methbot impressions that Google
recorded); and (iii) it only accounts for the year 2016, which is an undercount because the
defendant’s scheme began in 2014. See Trial Tr. 2486, 2554, 2564, 2570.

                The Court would be well within its discretion to use the $7.6 million number as a
basis to extrapolate the full intended losses (to include all attempts) and at least two years of
activity. See Bryant, 128 F.3d at 76 (“it is permissible for the sentencing court, in calculating a
defendant’s offense level, to estimate the loss resulting from his offenses by extrapolating the
average amount of loss from known data and applying that average to transactions where the
exact amount of loss is unknown”). Were the Court to make a reasonable estimate of all
intended losses for 2016 recorded at Google, it would arrive at a loss amount of $19.1 million
(resulting in a Guidelines range of 262 to 327 months). Were the Court to further increase that
number to estimate cumulative losses for the entire duration of the scheme, it would exceed the
next loss amount threshold of $25 million (resulting in a Guidelines range of 324 to 405 months).



       3
                For example, although the Second Circuit rejected extrapolating drug quantities
based on averages in the drug context, see United States v. Martinez (cited in Def. Mem. at 12-
13), the Second Circuit upheld extrapolating loss amounts based on averages in the fraud
context, stating, “it is permissible for the sentencing court, in calculating a defendant’s offense
level, to estimate the loss resulting from his offenses by extrapolating the average amount of loss
from known data and applying that average to transactions where the exact amount of loss is
unknown,” Bryant, 128 F.3d at 76.

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               The government has not sought for such ranges to apply, even though the facts
and the law support them. Rather, the government has proposed a concrete and conservative loss
amount of $7.6 million that represents actual losses to advertisers directly resulting from
fraudulent Methbot traffic, as documented in extensive and detailed logs kept by a leading
advertising platform. In doing so, the government has arrived at a Guidelines calculation that
represents a middle ground, and the Guidelines calculation is not only fair, but generous to the
defendant.

                Despite the government applying a conservative estimate of the loss amount, the
loss enhancement remains significant, and that is for one simple reason—because the defendant
perpetrated a massive fraud across the entire digital advertising industry affecting thousands of
companies across the United States, and not because of any flaw in the Guidelines. Indeed, this
conservative estimate of loss is remarkable for its restraint. It makes no pretense of measuring
the harm to business-men and -women attempting to operate in good faith in the industry; the
damage to the reputations and credibility of individuals and businesses caught in the middle
holding the bag for the defendant’s deceit; the time, effort, and expense incurred by companies
attempting to unravel the false information and unwind the transactions related to them; or the
damage done to the trust and confidence in commercial relationships essential to making the
digital advertising industry work and supporting the free and open internet. See United States v.
Mohammed, 315 F. Supp. 2d 354, 358 (citing similar harms in connection with credit card fraud
and noting that “[n]o simple calculation of dollar ‘loss’ will adequately measure the seriousness
of this crime”).

                Second, the defendant’s argument that the Guidelines range related to fraud
offenses is the subject of long-standing criticism and not a legitimate benchmark is misplaced in
this case. The concerns expressed by courts with respect to the fraud Guidelines refer to select
circumstances where the loss amount does not correlate to the extent of actual victimization.
See, e.g., United States v. Corsey, 723 F.3d 366, 368 (2d Cir. 2013) (wire fraud defendant’s loss
enhancement based om “conspiracy to defraud a non-existent investor of three billion dollars”);
United States v. Emmenegger, 329 F. Supp. 2d 416, 427 (S.D.N.Y. 2004) (securities fraud
defendant’s loss enhancement based on “a kind of accident” related to a single victim’s security
procedures); United States v. Johnson, No. 16-CR-457, 2018 WL 1997975, at *3 (E.D.N.Y. Apr.
27, 2018) (wire fraud defendant’s loss enhancement based on gain from fraudulent trades).

                 Those same concerns—of loss being untethered to concrete victimization—do not
pertain to this case. As explained above, the loss amount in this case represents actual losses to
advertisers reported by one advertising platform for one year of a multi-year fraud—which place
the defendant in the Guidelines category of losses exceeding $3.5 million. There is no injustice
in holding the defendant accountable for losses exceeding $3.5 million: these losses represent
real U.S. dollars that went out of the bank accounts of real U.S. companies—not contingent or
hypothetical losses—and the government proved that the defendant gained at least that much in
proceeds from the scheme. See supra n. 1.

                This is a far cry from the circumstances of the case on which the defendant
primarily relies—the concurring judge’s opinion in United States v. Corsey, 723 F.3d 366, 377
(2d Cir. 2013). Corsey involved a defendant who engaged in what the court characterized as a

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“ridiculous” fraud involving “a purported coalition of Buryatian nationals and Yamasee
tribesmen using AOL email accounts to offer five billion dollars in collateral for a loan to build a
pipeline across Siberia.” 723 F.3d at 377. The target of the scam, who quickly recognized that
“the deal smelled,” only continued to pursue the transaction because he was working as an
informant for the government. Id. at 369-70. Under these circumstances, the Second Circuit
recognized “the low risk that any actual loss would result” and expressed concerns that the
district court had not sufficiently considered whether the Guidelines, which called for a life
sentence, overstated the seriousness of the offense. Id. at 377. Unlike Corsey, the fraud in this
case was all too real. The defendant flooded the online advertising industry with fake goods in
the form of billions of ad impressions, and hundreds of U.S. companies were collectively
defrauded of millions of dollars as a result. In addition to the actual losses recorded, the
presence of the defendant’s bots required companies across the industry to spend significant
sums of their own money to protect against fraud, and injected risk and undermined confidence
in the marketplace.

               Indeed, there are plenty of cases in which defendants engaged in complex frauds
with Guidelines ranges at the high end of the scale nonetheless received severe sentences. See
United States v. William Lange, No. 10-CR-968 (E.D.N.Y.) (defendant convicted of conspiracy
to commit wire fraud and conspiracy to commit wire fraud and securities fraud, had a Guidelines
range of 210 to 262 months, and was sentenced to 262 months’ imprisonment); United States v.
Eric Aronson, No. 12-CR-245 (E.D.N.Y.) (defendant convicted of securities fraud, had a
Guidelines range of 292 to 365 months, and was sentenced to 124 months’ imprisonment);
United States v. George Porrata, No. 16-CR-093 (E.D.N.Y.) (defendant convicted of conspiracy
to commit securities fraud, his Guidelines range was capped by the statutory maximum of 60
months, and was sentenced to 60 months’ imprisonment); United States v. Jason Galanis, No.
16-CR-371 (S.D.N.Y.) (defendant convicted of securities fraud conspiracy, investment adviser
fraud conspiracy and securities fraud, had a Guidelines range of 188 to 235 months, and was
sentenced to 173 months’ imprisonment); United States v. Pedro Jaramillo, No. 17-CR-004
(S.D.N.Y.) (defendant convicted of commodities fraud and wire fraud, had a Guidelines range of
78 to 97 months, and was sentenced to 144 months’ imprisonment); United States v. Philip
Kenner, No. 13-CR-607 (E.D.N.Y.) (defendant convicted of wire fraud conspiracy, wire fraud,
and money laundering conspiracy, had a Guidelines range of 262 to 327 months, and was
sentenced to 204 months’ imprisonment).

                Third, the defendant’s argument that the specific offense characteristics are
overlapping and unfairly enlarge the Guidelines range is also misplaced in this case. “The
imposition of somewhat overlapping enhancements does not necessarily mean double counting
has occurred. Indeed, double counting is legitimate where a single act is relevant to two
dimensions of the Guidelines analysis.” United States v. Samet, 200 F. App’x 15, 24 (2d Cir.
2006) (internal marks and citations omitted). Here, the defendant’s scheme had numerous
dimensions that more than warrant the three specific enhancements that apply: the scheme
victimized hundreds of advertisers and thousands of publishers in the digital advertising industry;
it was carried out through the use of extremely sophisticated computer technology and
infrastructure located throughout the world; and funds were raised for the scheme, and reinvested
from the scheme, through shell companies and bank accounts throughout the world, to
continually expand its scope and effect. See Samet, 200 F. App’x at 24 (no impermissible
                                                 13
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double counting where use of sophisticated means was not unique to money laundering activities
but was also used to accomplish the underlying frauds); United States v. Hatala, 552 F. App’x
28, 30-31 (2d Cir. 2014) (no impermissible double counting where sophisticated means
enhancement was justified by defendant’s intricate and complex computer programming and loss
amount enhancement was justified by significant monetary damage inflicted).

                Moreover, the application of the specific offense characteristics is not so
commonplace that they should fall out of the analysis altogether. Each of the enhancements
applies in only a portion of fraud cases. See United States Sentencing Commission, Use of
Guidelines and Specific Offense Characteristics (2020) (attached hereto as Exhibit A). They are
thus useful for distinguishing among the array of frauds prosecuted at the federal level, and
warranted in the specific circumstances of this case. See Samet, 200 F. App’x at 24 (rejecting
Lauersen-based argument that district court should have downwardly departed based on
“combined effect of substantially overlapping offense level adjustments and the increased extent
of enhancement of the applicable sentencing range that occurs at the higher end of the sentencing
table,” where challenged enhancement does not substantially overlap with other offense level
adjustments and the defendant “merely seeks to eliminate the effect of the enhancement based on
the significant effect it would have on his sentence, which the district court did not have to do”).

               Fourth, the most recent version of the Guidelines already takes into account the
criticisms voiced by prior jurists regarding the enhancements in fraud cases.

               In 2015, the Sentencing Commission underwent the process of amending the
fraud Guidelines. In doing so, and as part of its extensive notice-and-comment procedure, the
Commission considered a multitude of views and data, including the views of those who called
for a reduced emphasis on loss amounts and multiple specific offense characteristics. The
current Guidelines reflect the result of that considered process. Therefore, the defendant is
simply wrong when he argues that the fraud Guidelines do not take account of empirical data and
national experience—they expressly do. See Amendments to the Sentencing Guidelines, United
States Sentencing Commission (Apr. 20, 2015), at 24 (amending § 2B1.1 “to better account for
harm to victims, individual culpability, and the offender’s intent”; “This amendment is a result of
the Commission’s multi-year study of § 2B1.1 and related guidelines, and follows extensive data
collection and analysis relating to economic offenses and offenders. Using this Commission
data, combined with legal analysis and public comment, the Commission identified a number of
specific areas where changes were appropriate.”); Chief Judge Patti B. Saris, Chair, United
States Sentencing Commission, Remarks for Public Meeting at 2 (Jan. 9, 2015) (noting that the
Commission held a symposium on the fraud Guidelines in 2013 at the John Jay College of
Criminal Justice, the Commission staff had “spent countless hours analyzing data on fraud
sentences,” the Commission staff had met with judges and the ABA); see also United States v.
Moose, 893 F.3d 951, 958 (7th Cir. 2018) (defendant’s “argument that the loss enhancements are
not based on the Commission’s institutional expertise is mistaken. Even if the enhancements
may lack robust empirical support related to deterrence, they have foundations in empirical data
and national experience related to the goals of fair sentencing and retribution”).4

       4
             The cases the defendant cites from the crack cocaine context have no relevance
here—in formulating the Guidelines for those offenses, the Commission looked to the mandatory
                                               14
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                The current fraud Guidelines remain as they do because—according to Chief
Judge Saris who was the Chair of the Sentencing Commission at the time—the Commission’s
“extensive process” led it “to believe that the fraud guideline may not be fundamentally broken
for most forms of fraud,” Saris, Remarks for Public Meeting at 2, and according to Justice
Breyer—who was a member of the original Sentencing Commission before he joined the
Supreme Court—the Commission sought “to avoid unfair anomalies” and “increase certain
‘white collar’ sentences when necessary to avoid disparity between ‘white collar’ and ‘blue
collar’ crime,” Justice Stephen Breyer, Federal Sentencing Guidelines Revisited, 11 Fed.
Sentencing Reporter 180, 181 (1999). The Guidelines range in this case—210 to 262 months—
does just that, by advising a sentence that is comparable to the sentences of street criminals who
commit non-violent thefts from large institutions:

          United States v. Robertson, 837 F. App’x 61 (2d Cir. 2020) (120-month sentence
           substantively reasonable for defendant who robbed two Subway sandwich stores and
           three bank branches and stole a total of $10,532; defendant pleaded guilty to one
           count of bank robbery; Guidelines were 151 to 188 months).

          United States v. Cascio, 771 F. App’x 91 (2d Cir. 2019) (180-month sentence
           substantively reasonable for defendant who robbed bank of $306; defendant
           convicted after jury trial of bank robbery and entering a bank to commit a larceny;
           Guidelines were 210 to 240 months).

          United States v. Arrington, 94 F. App’x 858 (2d Cir. 2004) (180-month sentence
           substantively reasonable for defendant who robbed bank of $1000; defendant pleaded
           guilty to one count of bank robbery; Guidelines were 151 to 188 months).5

The fact that the defendant had the means to commit his theft with the benefit of technological
skill, seed money, and connections to other cybercriminals—using computer servers instead of
demand notes—does not exempt him from severe punishment or render the Guidelines unfair.
See Moose, 893 F.3d at 958 (noting that the fraud Guidelines “reflect the Commission’s policy
judgment that increasing sentences for white-collar crimes would promote greater respect for the
rule of law”).

               In sum, the circumstances presented here do not warrant a summary rejection of
the Guidelines range as a matter of policy. See United States v. Qualls, 25 F. Supp. 3d 248, 259-

minimum sentences set by Congress, did not take account of empirical data and national
experience, and itself reported that the crack/powder disparity produced disproportionately harsh
sanctions. See Kimbrough v. United States, 552 U.S. 85, 105 (2007). That is not true for the
fraud and money laundering Guidelines—those Guidelines are not tethered to any mandatory
minimum, they account for empirical data and national experience, and have not been renounced
by the Commission itself in any way.
       5
               In each of these cases, the crime of conviction was a note robbery and the
defendant did not have a gun. In the last two cases, the defendants had a history of substance
abuse.

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60 (2d Cir. 2014) (declining to reject the Guidelines range as a policy matter); see also United
States v .Brunson, 482 F. App’x 811, 821 (4th Cir. 2012) (“while it is true that a district court
may vary from Guidelines ranges based solely on policy considerations, including disagreements
with the Guidelines, it is equally true that a district court is not required to do so”) (citing various
circuits). Rather, the Guidelines properly serve as a useful anchor and benchmark in the
circumstances of this case. See Gall, 552 U.S. at 49 (instructing district courts to treat the
Guidelines as the “starting point and the initial benchmark”).

                                           Sentencing Law

               The standards governing sentencing are well-established. In United States v.
Booker, 543 U.S. 220 (2005), the Supreme Court rendered the Guidelines advisory, and
emphasized that a sentencing court must consider both the Guidelines and the 18 U.S.C.
§ 3553(a) factors when making a sentencing decision. Id. at 264; see also United States v.
Kimbrough, 552 U.S. 85 (2007).

                 Although the Guidelines are no longer mandatory, they continue to play a critical
role in trying to achieve the “basic aim” that Congress sought to meet in enacting the Sentencing
Reform Act, namely, “ensuring similar sentences for those who have committed similar crimes
in similar ways.” Booker, 543 U.S. at 252; see also United States v. Crosby, 397 F.3d 103, 113
(2d Cir. 2005) (“[I]t is important to bear in mind that Booker/Fanfan and section 3553(a) do
more than render the Guidelines a body of casual advice, to be consulted or overlooked at the
whim of a sentencing judge.”). “[A] district court should begin all sentencing proceedings by
correctly calculating the applicable Guidelines range,” which “should be the starting point and
the initial benchmark.” Gall v. United States, 552 U.S. 38, 49 (2007). The Guidelines range is
thus “the lodestar” that “anchor[s]” the district court’s discretion. Molina-Martinez v. United
States, 136 S. Ct. 1338, 1345-46 (2016) (internal quotation marks omitted).

                After making the initial Guidelines calculation, a sentencing judge must consider
the factors outlined in Title 18, United States Code, Section 3553(a), and “impose a sentence
sufficient, but not greater than necessary, to comply with the purposes” of sentencing: “a) the
need to reflect the seriousness of the offense, to promote respect for the law, and to provide just
punishment for that offense; b) the need to afford adequate deterrence to criminal conduct; c) the
need to protect the public from further crimes by the defendant; and d) the need for
rehabilitation.” United States v. Cavera, 550 F.3d 180, 188 (2d Cir. 2008) (citing 18 U.S.C. §
3553(a)(2)). Section 3553(a) further directs the Court “in determining the particular sentence to
impose” to consider: (1) the nature and circumstances of the offense and the history and
characteristics of the defendant; (2) the statutory purposes noted above; (3) the kinds of
sentences available; (4) the kinds of sentence and the sentencing range as set forth in the
Sentencing Guidelines; (5) the Sentencing Guidelines policy statements; (6) the need to avoid
unwarranted sentencing disparities; and (7) the need to provide restitution to any victims of the
offense. See 18 U.S.C. § 3553(a).

               In light of Booker, the Second Circuit has instructed that district courts should
engage in a three-step sentencing procedure. See Crosby, 397 F.3d at 103. First, the Court must
determine the applicable Sentencing Guidelines range, and in so doing, “the sentencing judge
                                                   16
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will be entitled to find all of the facts that the Guidelines make relevant to the determination of a
Guidelines sentence and all of the facts relevant to the determination of a non-Guidelines
sentence.” Id. at 112; see also United States v. Corsey, 723 F.3d 366, 375 (2d Cir. 2013) (“Even
in cases where courts depart or impose a non-Guidelines sentence, the Guidelines range sets an
important benchmark against which to measure an appropriate sentence.”). Second, the Court
must consider whether a departure from that Guidelines range is appropriate. See Crosby, 397
F.3d at 112. Third, the Court must consider the Guidelines range, “along with all of the factors
listed in section 3553(a),” and determine the sentence to impose. Id. at 113.

                                             Argument

               The government respectfully requests that the Court impose a sentence consistent
with the Probation Department’s recommendation of 15 years’ imprisonment and respectfully
submits that such a sentence would appropriately reflect the sentencing factors set forth in 18
U.S.C. § 3553(a).

       I.      The Nature and Circumstances of the Offense

               A sentence of 15 years’ would reflect the serious, sophisticated, and wide-
reaching nature of the defendant’s criminal enterprise.

                The defendant’s conduct was serious and long-running. He developed a criminal
scheme that was illegitimate from the outset and made no pretense of legitimacy—the
defendant’s bots were programmed to look like humans, for only one purpose, to deceive others
into believing they were humans. The seriousness of the defendant’s operation is particularly
acute because, unlike more mundane and traditional schemes involving one-off fraud, the
defendant used the power of the internet and sophisticated computer programming to expand the
effectiveness of his scheme, direct and manage co-conspirators in different countries, attack
businesses from afar, steal millions of dollars, and route those millions through bank accounts in
multiple jurisdictions.

                 The defendant engaged in careful and sophisticated preparation and planning to
build and operate the scheme: evidence at trial showed that the defendant researched the digital
advertising industry and understood how it worked, chat communications showed that the
defendant sought technical advice and information on the methods and means of disguising bot
traffic as real human traffic, emails and Skype chats showed that the defendant solicited
feedback on where his traffic succeeded in defrauding and where it failed and relayed that
feedback to his computer programmers to revise and refine the technology, and computer
forensic evidence showed that the defendant set up an infrastructure of computer servers around
the world and inserted false information into major public databases relied upon in the industry
in order to ensure that the scheme succeeded.

               The defendant further took measures to protect his identity and evade detection.
He obfuscated his true location by running the scheme from datacenter computer servers in the
U.S. and the Netherlands, he used numerous personas, aliases, and alternative email addresses to
conduct his criminal activities, he used encrypted applications to communicate with co-

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conspirators, and he set up corporate entities and bank accounts in more than six countries to
receive proceeds of the scheme. See, e.g., GX 348 at 14-16 (Mintek Group registered in the
Seychelles with bank account in Latvia; Must Trade registered in the United Kingdom with bank
account in the Czech Republic).

               The defendant suggests that his offense conduct was less serious because he
committed ad fraud using a datacenter botnet made up of computer servers sitting in a
warehouse, and not a residential botnet made up of computers sitting in people’s homes. Def.
Mem. 6-7. However, the evidence at trial showed that advertisers and others in the digital
advertising industry regarded datacenter-based botnets of the type that the defendant used to
commit ad fraud just as seriously as residential-based botnets—they are simply two different
ways to commit the same fraud. See GX 2200.

       II.     History and Characteristics of the Defendant and The Need for Specific
               Deterrence

                A sentence of 15 years’ is also appropriate in light of the history and
characteristics of this defendant.

                 The defendant’s interest in fraud was not one-off or transient. The defendant
spent 14 years of his life pursuing various online ventures. Trial Tr. 2752-53. In his own private
communications toward the end of this period, he described himself as an “experienced scam
artist” and “king of fraud.” The defendant then spent two-and-a-half years building and fine-
tuning the scheme charged in this case. The defendant’s devotion of several years of his life to
the instant scheme and his own statements demonstrate that he spent a significant period of time
committing fraud, and the defendant’s communications with his co-conspirator show that he
intended to continue committing fraud were he not caught.6 This long-running pattern of
conduct—and eagerness to do more—reflects an individual with an unflinching willingness to
steal from others. Although the defendant has no official prior criminal history in the United
States, it is apparent that he is a longtime fraudster who acted with impunity until this
prosecution.

               The defendant also engaged in a remarkable pattern of obstruction. After the
Methbot scheme was publicly revealed, the defendant deleted servers, emails, and records related
to the scheme. After his arrest, the defendant initially attempted to distance himself from the


       6
                Just before the Methbot scheme was publicly revealed, the defendant made
secretive plans with one of his co-conspirators to ramp up Methbot and use proceeds from the
scheme to further expand their fraud. See GX 1658T (Nov. 26, 2016 email with defendant
telling Timokhin: “the balance from AdKarma will get to us and … we will successfully reinvest
it”; “Starting Monday! You are not to use any WhatsApps or Telegrams! You are only to
respond to a call from me! And only from the phone! No messengers.”; “in December, we will
launch it in a brute-force mode”; “My proposal is about taking a risk! Stop dealing with Yegors
and let’s take a risk like we did two years ago… And as for the balance from AdKarma – we
should pour it in and buy, you know what!”).

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scheme entirely and named another individual as its mastermind. In his most recent and striking
display of disrespect for the law, the defendant took the stand at trial, perjured himself without
hesitation, and showed complete disregard for his oath and for the truth, appearing to treat the
process as some sort of game or yet another gamble. See Trial Tr. 2699 (attempting to explain
false registrations in public databases by saying, “if you have a dog, you can call it Verizon”);
Trial Tr. 2738 (defendant opting for selective translation of questions); Trial Tr. 2765 (the Court
noting “constant giggling at the defense table”); Trial Tr. 2887 (defendant received hand signals
from counsel during testimony). The defendant’s most recent conduct—taking the stand and
lying to the jury and the Court—instills no confidence that the defendant has learned his lesson.

                Even now, the defendant shows no remorse, no acceptance of responsibility, and
no recognition of the harm that he has caused. He continues to attempt to deflect blame on
others—his co-conspirators, his victims, the industry as a whole—and continues to perpetuate
falsehoods disproven at trial. The lack of any remorse—or even any pretense of remorse—
causes serious concerns about the defendant’s ability or desire to reform. In these circumstances,
the defendant’s lack of remorse, efforts to deflect responsibility, and continued insistence that he
has hurt no one and done nothing wrong are a basis for withholding lenience. See, e.g.,
Robinson v. Heath, No. 12-CV-2116, 2013 WL 5774544, at *11 (E.D.N.Y. Oct. 24, 2013)
(Garaufis, J.) (“lack of remorse and failure to acknowledge responsibility consistently have been
recognized as constitutionally-permissible factors that courts may take into account in
determining an appropriate sentence”) (citing cases); see, e.g., United States v. Jeffers, 505 F.
App’x 223, 227 (3d Cir. 2012) (district court may consider defendant’s behavior at trial in
imposing sentence).

                In addition, the defendant poses a high risk of recidivism in light of where he will
go after his incarceration. Once he has served his prison sentence in the United States, he will
return to the Russian Federation, where post-release supervision will be completely absent and
he will be beyond the reach of U.S. law enforcement. After he is back in his home country, the
defendant will once again have access to the computer and criminal networks that enabled him to
build his cybercrime scheme in the first place. His demonstrated abilities to obtain tools and
advice from online sources, recruit computer programmers and co-conspirators to his cause, and
build complex digital infrastructures to commit cybercrime will once again have free reign. It is
important for the Court’s sentence to show the defendant that the costs of engaging in these
crimes significantly outweigh the benefits he enjoyed for so many years. A substantial sentence
of incarceration is needed to provide the defendant with time to reflect upon his crimes,
experience the consequences of his criminal conduct, and effectively deter the defendant from
repeating his offenses.

                The defendant claims that he “did not know that this conduct was illegal.” Def.
Mem. at 7. This is disingenuous at best and troubling at worst. The defendant was expressly put
on notice that his endeavor was illegal, see DX O-E (“it’s illegal”) and GX 2200 (referencing
datacenter-based ad traffic as “criminal activity”), and the evidence at trial—including the
defendant’s use of encrypted communications, “cover stories,” and false personas—showed that
he understood that it was illegal. The defendant committed this brazen fraud not because he
believed it was acceptable or legal, but rather in the belief that he would never be caught. Even
if one were to credit the defendant’s claim, it is at most an admission that the defendant believed
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lying, cheating, and stealing from others was perfectly acceptable so long as he could find a legal
loophole permitting him to escape prosecution for it.

                The defendant argues that he should obtain a lenient sentence because of the
effects on his family. While a defendant’s family circumstances are one factor the Court should
consider as part of its § 3553(a) analysis, the law is clear that the very considerations upon which
the defendant relies are not proper grounds for a downward departure at sentencing, nor do they
weigh heavily in a § 3553(a) analysis. Courts in the Second Circuit “have consistently held that
ordinary family responsibilities do not warrant [a downward] departure,” in part because
“innumerable defendants” could demonstrate that their parental responsibilities will be affected
by incarceration. United States v. Johnson, 964 F.2d 124, 128 (2d Cir. 1992) (“Disruption of the
defendant’s life, and the concomitant difficulties for those who depend on the defendant, are
inherent in the punishment of incarceration.”). The Guidelines also state that “family ties and
responsibilities are not ordinarily relevant” to determining whether a downward departure is
warranted. U.S.S.G. § 5H1.6; see also Koon v. United States, 518 U.S. 81, 95 (1996) (“the
defendant’s family ties and responsibilities” are a “discouraged” basis for a departure (citing
U.S.S.G. § 5H1.5)). This is because any imprisonment of any parent or supportive family
members has adverse consequences for a defendant’s family, and absent extraordinary
circumstances, a defendant with a family that will be adversely affected by his sentence should
be treated no differently than other defendants with families. For this reason, the Second Circuit
has repeatedly overturned a downward departure based on family circumstances, including
where a defendant was the parent of small children.7 In the context of these other cases, it is


       7
          See, e.g., United States v. Mateo-Ruiz, 112 F. App’x 790, 792 (2d Cir. 2004)
(holding that the district court “acted outside of permissible limits” by granting a departure
where the defendant was a single mother of a four-year-old); United States v. Madrigal, 331
F.3d 258, 260-61 (2d Cir. 2003) (district court abused its discretion in making a downward
adjustment where defendant had six children, the three youngest had “very serious
problems,” and defendant’s parents were having trouble taking care of the children, because
“the court did not conclude that [the defendant] was the only person capable of providing
adequate care for the youngest children” and there was evidence that “the family as a whole
remained cohesive,” the older three children were doing well, and defendant’s “extended
family was also available for caregiving”); United States v. Carrasco, 313 F.3d 750, 756-57
(2d Cir. 2002) (family circumstances were not a basis for departure where the defendant’s
father was ill and where the defendant provided “some support for his three children”
because “being the father of three children is in no sense an exceptional circumstance” and
because the defendant’s siblings could help financially support the defendant’s father);
United States v. Ruttner, 4 F. App’x 66, 68-69 (2d Cir. 2001) (holding that the fact that the
defendant “has three young children cannot, without more, give rise to a downward
departure,” and that the defendant “failed to demonstrate that there is anything extraordinary
about his family circumstances other than the presence of three young children”); United
States v. Cutler, 520 F.3d 136, 164-66, 171-72 (2d Cir. 2008) (downward adjustment not
supported where defendant had three children who partially depended on his financial support, a
brother who suffered from mental retardation and cerebral palsy, and an elderly mother-in-law,
because he was not the primary caregiver for any of them); United States v. Khan, 94 F. App’x
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clear that the defendant in this case does not present “extraordinary circumstances” supporting a
downward departure either from the Guidelines or as part of the § 3553(a) analysis. The
defendant’s dependents are fortunate enough to have other sources of support, and the defendant
does not serve as the primary caregiver to anyone. That the defendant helped his friends in their
times of need and met his obligations to his family is commendable but not extraordinary. The
problem is, despite his capacity to treat those he cares about with decency, he had no qualms
about cheating and stealing from people half a world away. Ultimately, any difficulties faced by
the defendant’s family as a result of his imprisonment are not caused by this Court; the blame
lies solely with the defendant; this is unfortunate, but no more so than in any of the hundreds of
other cases in this district and in this circuit in which a spouse, a parent, and a friend decides to
commit crimes.

                 The defendant asks this Court to consider his upbringing and past drug abuse as a
basis for mitigation. Def. Mem. 1-2. Whatever economic position the defendant may have been
in as a child, that was not his position when he launched the Methbot scheme. He had the ability
to raise money from investors, the ability to hire computer programmers, the ability to pour
hundreds of thousands of dollars into server and IP address rentals, and the ability to sit at home
in his swanky seaside apartment behind multiple computers and devote time to building and
perpetrating his scheme. The defendant was far-removed from his childhood, both in time and
circumstance, when he committed the crimes of conviction. He was in a position to choose
among different ventures, that varied in the extent to which they involved cheating and stealing
from others. He chose to cheat and steal. He should be held accountable for that considered
choice. See United States v. Vera Ramos, 296 Fed. Appx. 201, 203 (2d Cir. 2008) (affirming
guideline sentence despite defendant’s “difficult upbringing” and noting district court’s
observation that such circumstances are “almost universal” among defendants).

       III.    The Need to Reflect the Seriousness of the Offense, Promote Respect for the Law,
               and Provide Just Punishment

              A sentence of 15 years will reflect the seriousness of the defendant’s offenses,
promote respect for the law, and provide just punishment. See 18 U.S.C. § 3553(a)(2)(A).


33, 38 (2d Cir. 2004) (holding that the district court erroneously departed from the Guidelines
because the record did not suggest that the defendant “was the primary—let alone sole—support
of any of the many people that he claims to support”); United States v. Osorio, 305 F. Supp. 2d
319, 322 (S.D.N.Y. 2004) (holding that because “the hardships [the defendant] and his family
must now face are no more extraordinary than those faced by any defendant who is sentenced to
a term of imprisonment and has a family that depends, in part, on his or her financial support,”
and that “there is nothing so extraordinary in this case beyond what may commonly befall the
young children of incarcerated defendants”); United States v. Jimenez, 212 F. Supp. 2d 214, 216
(S.D.N.Y. 2002) (holding that family circumstances alone were not grounds for departure where
the defendant was “a single mother with three children who will suffer grievously from her
absence,” one child had “significant disabilities,” and the defendant’s family, who could care for
the children, “are themselves so poor that they have been unable to maintain a household in the
United States for their own children”).

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                The defendant’s criminal scheme undermined the innovation and advancements
that make up the modern internet and the modern U.S. economy. Computers, the internet, and
datacenter-based cloud storage are an integral part of the U.S. economy. The expansion of the
open and free internet, and the use of digital advertising as the primary revenue model for
publishers online, has brought great benefits to the economy and opened up new opportunities
for millions of people—from entrepreneurs and small businesses who sell their goods and
services exclusively or predominantly through online advertising, to non-profits and political
movements that raise money and awareness through online advertising, to publishers who offer
news, maps, videos, information, and other free content to internet users worldwide because their
revenue comes from online advertising. See Trial Tr. 88-91 (ad industry expert explaining that
“much of the Internet you can visit are free are essentially, free thanks to advertising,” explaining
how revenue from online advertising is “[e]xtremely important” for publishers ranging from
“mom-and-pop” shops to “larger publications” who all rely on online advertising revenue to
various extents, and explaining how online advertisers include “[a]nyone who is trying to sell a
good or service or trying to raise funds in someway . . . like Coca Cola” or “the flower shop
down the road from your house” or “a political advertisement” or “a charity” and that online
advertising is particularly affordable for small businesses and “makes it so that small businesses
can grow”). Unfortunately, this digital revolution has also created new and unprecedented
opportunities for criminals to steal money on a scale and at speeds that were impossible in the
physical world. The internet has opened a new frontier for criminals unbounded by traditional
mores and physical barriers. Cybercriminals like the defendant can commit their crimes from
around the world without ever facing their victims and can use any number of techniques to
conceal their identities.

                   Ad fraud is a particular menace because it exploits the digital advertising supply
chain—which necessarily relies on automated software and numerous middlemen to handle the
billions of ad opportunities that need to be filled each minute. See Trial Tr. 81-82, 102 (ad
industry expert explaining “the sheer number of opportunities” in online advertising resulting
from “every single time someone opens a [web]page” and the need to rely on intermediaries:
“The reality today is that publishers, because of the sheer number of people on the Internet, are
constantly having trouble selling their opportunities. So they are constantly trying to stay in
business. And in order to do that, they have to work with as many ad networks and ad
exchanges, SSPs, as they possibly can . . . .”). This is a system built on trust. See Trial Tr. 81-82
(ad industry expert explaining the inability of advertisers to validate that an ad has been shown to
humans online as compared to validating that an ad has been displayed on TV, on a billboard, or
in the subway: “For digital advertising, [every time] an opportunity comes to be, you have to
trust a little bit that your ad that you purchased is now showing there.”). Ad fraud exploits this
system to siphon dollars away from U.S. companies and into overseas bank accounts that are
difficult to trace.

                Indeed, the evidence at trial demonstrated that private security companies hired by
U.S. companies to identify and block fraudulent traffic were generally unable to do so until two
years into the scheme, because of the extensive and sophisticated computer technology fueling
the scheme and its ability to fool and circumvent fraud detection software. Even where
companies are able to detect such traffic, they are generally without recourse, as the individual
behind the fraud is difficult to identify and impossible to pursue through civil litigation. See,

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e.g., Trial Tr. 2598 (Google witness explaining that when even when they detected invalid
traffic, they could see the platform that was passing that traffic on to Google but “had no
available resources” to identify the original source of the traffic).

                For this reason, ad fraud is a particularly attractive venture for cybercriminals—
with relatively little effort and risk as compared to other types of cybercrime, it can yield high
payouts and be used to fuel other cybercrime. See Exhibit B (chart comparing risk and reward of
various types of cybercrime).

                 American businesses and consumers are harmed as a result. Indeed, in a 2016
letter to the Federal Trade Commission, Senators Schumer and Warner wrote about “digital
advertising fraud and the associated negative economic impact on consumers and advertisers.”
They explained: “Bots plague the digital advertising space by creating fake consumer traffic,
artificially driving up the cost of advertising in the same way human fraudsters can manipulate
the price of a stock by creating artificial trading volume. In each case, markets highly sensitive
to demand signals are manipulated. . . . The cost of pervasive fraud in the digital advertising
space will ultimately be paid by the American consumer in the form of higher prices for goods
and services.”

                 Digital advertising fraud in the nature of what the defendant committed thus has
real impact—overseas actors use sophisticated technology to cheat the system and steal from
American companies, knowing that those companies have little-to-no ability to pursue them.
This imposes costs on everyone in the industry—with legitimate businesses at every step in the
chain spending large sums to hire private security (the fraud detection filters) and essentially
operating at their own risk in the absence of the rule of law. It reduces revenues to businesses
large and small, and has a particularly deleterious effect on small advertisers, publishers, and ad
networks, who depend to a greater extent on online ad revenue and are less able to absorb the
loss; and it imposes costs on consumers. Such crimes also undermine consumer confidence and
trust in the systems and networks that make up the internet and in the internet itself—and
perpetuate the cynical view that the online world is full of lies and scams where criminals can
thrive and legitimate businesspeople operate at their own risk. These harms can only be checked
by the significant incarceration of wrongdoers. Those who commit such crimes should be held
accountable for them and put on notice that the rule of law applies in cyberspace just as it does
on the street and substantial prison sentences, commensurate with the losses and damages
caused, await those who violate the law.

       IV.     The Need for General Deterrence

               A sentence of 15 years’ is needed for general deterrence, which is crucial in the
realms of international cybercrime and fraud. 18 U.S.C. § 3553(a)(2)(B), (C).

                As the circumstances of this case demonstrate, it is all too easy for cybercriminals
to profit from cybercrime schemes. Cybercriminals like the defendant can make millions of
dollars in a short time period. The lure of such easy money in countries with spotty records of
cooperating with U.S. law enforcement is substantial. Many may make the calculation that the


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rewards are worth the risk when their government is unlikely to extradite them to face justice in
the United States.

                At the same time, it is all too difficult for law enforcement to identify and capture
international cybercriminals like the defendant. Cybercrimes are extremely difficult to solve.
Identifying the mastermind behind the keyboard takes unique investigative expertise and
attention to detail. The investigations almost universally require the collection of evidence from
sources all over the world.8 Electronic evidence often disappears before the legal and diplomatic
procedures necessary to retrieve the evidence can be completed. Even when law enforcement
successfully identify a cybercriminal, many reside in countries that will not extradite their
citizens to face justice in the United States.9 It is notable that in this case, five charged
defendants remain at large.

                In the rare instance in which the United States can bring a cybercriminal of the
defendant’s stature and significance to justice, the sentence must be significant to afford
adequate general deterrence, because other overseas cybercriminals who are contemplating this
and other sorts of cybercrimes are capable of weighing the low likelihood of detection and
apprehension against the consequences of prosecution. Where the incidence of prosecution is
lower, the level of punishment must be higher to obtain the same level of deterrence.
Furthermore, the need for general deterrence is greatest in cases involving particularly lucrative
and difficult-to-detect cybercrime schemes, such as the one that the defendant designed.
Numerous courts have recognized the importance, and appropriateness, of such considerations of
general deterrence in determining a sentence. See Harmelin v. Michigan, 501 U.S. 957, 988
(1991) (noting that “since deterrence effect depends not only upon the amount of the penalty but

       8
              As part of this investigation, FBI agents obtained business records and bank
records from numerous foreign countries pursuant to multiple treaty requests, including
Bulgaria, Latvia, the Czech Republic, the United Kingdom, and Mauritius. Detecting and
understanding the defendant’s fraud also required careful analysis of voluminous computer
code and logs. See Trial Tr. 404 (FBI computer scientist analyzed 17,000 lines of code); Trial
Tr. 715 (White Ops logs consisted of 1.2 billion ad impressions); Trial Tr. 2605 (Google logs
contained many rows).


       9
                Indeed, even in instances where U.S. law enforcement successfully collects the
requisite evidence and identifies the actors at issue, bringing those individuals to justice in a U.S.
court poses its own challenges. For this reason, the government commonly announces charges
without apprehending any of the charged defendants. See, e.g., United States v. Rafatnejad, No.
18-CR-094 (S.D.N.Y.) (charges announced against nine Iranian nationals who conducted
cybertheft campaign against universities and companies to steal research, academic, and
proprietary data); United States v. Hua, No. 18-CR-891 (S.D.N.Y.) (charges announced against
two Chinese hackers who targeted intellectual property and confidential business information);
United States v. Iat Hong, No. 16-CR-360 (S.D.N.Y.) (charges announced against four
individuals for insider trading based on hacked information; extradition request for defendant
arrested in Macau was denied).
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upon its certainty, crimes that are less grave but significantly more difficult to detect may
warrant substantially higher penalties”); United States v. Gupta, 904 F. Supp. 2d 349, 355
(S.D.N.Y. 2012) (observing where a crime is hard to detect, “others similarly situated to the
defendant must therefore be made to understand that when you get caught, you go to jail”).
Moreover, because “economic and fraud-based crimes are more rational, cool and calculated
than sudden crimes of passion or opportunity, these crimes are prime candidates for general
deterrence.” See, e.g., United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006) (quoting
Stephanos Bibas, White-Collar Plea Bargaining and Sentencing After Booker, 47 Wm. & Mary
L. Rev. 721, 724 (2005)) (internal quotation marks omitted); United States v. Heffernan, 43 F.3d
1144, 1149 (7th Cir. 1994) (“Considerations of (general) deterrence argue for punishing more
heavily those offenses that either are lucrative or are difficult to detect and punish, since both
attributes go to increase the expected benefits of a crime and hence the punishment required to
deter it.”); United States v. Stein, No. 09-CR-377, 2010 WL 678122, at *3 (E.D.N.Y. Feb. 25,
2010) (Weinstein, J.) (“Persons who commit white-collar crimes like defendant’s are capable of
calculating the costs and benefits of their illegal activities relative to the severity of the
punishments that may be imposed.”); Sentencing Tr. at 49-51, United States v. Knowles, No. 16-
CR-005 (S.D.N.Y. Dec. 6, 2016) (Engelmeyer, J.) (“[F]or hackers who operate from abroad who
damage the lives and business interests of Americans by remote means, it will often be hard to
law enforcement to catch up with them. It’s an unfortunate reality, but between different legal
regimes, limited across-border cooperation among law enforcement, and the inherent challenges
of identifying and catching cyberthieves, the difficulty of apprehending an overseas hacker is
reality. So it is all the more important that when a hacker from outside the United States is
caught, the punishment be meaningful to convey to others who operate from afar, so that even if
the likelihood of apprehension may not be great, the consequences will be.”).10

              The significance of the sentence that the Court imposes for general deterrence
cannot be overstated. This case has, and continues to be, closely watched—in the English and
Russian language press, by those in the online advertising industry, in cybercrime legal circles,
and by cybercriminals themselves, including some of the defendant’s technically skilled co-
conspirators who remain at large. See Exhibit C (Instagram post by co-defendant Mikhail
Andreev after unsealing of indictment). The sentence that the Court imposes will send a
message to others here and elsewhere about the seriousness with which the United States treats
cybercrime and cyberfraud schemes targeting U.S. companies, the risks entailed in engaging in
such schemes, and the consequences that will befall those who do.




       10
                Knowles’ Guidelines range was 27 to 33 months and the district court sentenced
him to 60 months. It is without question that the defendant in this case engaged in criminal
activity that was greater in magnitude, scale, and loss, victimizing U.S. companies across an
entire industry, and thus the punishment should be greater.
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       V.      The Need to Avoid Unwarranted Sentence Disparities

               A sentence of 15 years would also comport with “the need to avoid unwarranted
sentence disparities among defendants.” 18 U.S.C. § 3553(a)(6).11

               The defendant cites generalized statistics for federal fraud sentences, which he
claims warrant a sentence of three years. These statistics are of limited utility, as they represent
mere averages among cases whose fact patterns necessarily vary widely. Indeed, the defendant’s
case presents several aspects which are not present in the vast majority of fraud cases, including
millions of dollars in actual losses, sophisticated computer technology, widespread impact on the
industry, and obstructive conduct.

               When considering comparable cases, the Court should take into account both the
technical sophistication of the defendant’s scheme and the nature and extent of the fraud that he
perpetrated. Accordingly, while there is no perfect analogue to this case, cases involving
defendants who led schemes in the realms of cybercrime and financial fraud can be instructive.

               In some respects, a useful comparison is international carding schemes, in which
overseas cybercriminals traffic in stolen credit card information online, the end user is generally
minimally affected because the fraudulent charges are either blocked or reimbursed, and the loss
is generally borne by a large corporation or bank that serves as an intermediary in the
transaction.

           In United States v. Roman Seleznev, No. 11-CR-070 (W.D. Wa. 2017), the
            Honorable Richard A. Jones sentenced the defendant to 27 years’ imprisonment
            following a jury trial. Seleznev operated the Carder.su website, where he trafficked
            in stolen credit card data and had a laptop computer in his possession with
            approximately 1.7 million stolen credit cards. Seleznev was arrested in and extradited
            from the Maldives.

           In United States v. Roman Vega, No. 07-CR-707 (E.D.N.Y. 2013), the Honorable
            Allyne R. Ross sentenced the defendant to 18 years’ imprisonment, following a guilty
            plea and failed cooperation. Vega operated the CarderPlanet website, where he
            trafficked in stolen credit card data, and had a laptop computer in his possession with
            approximately 500,000 stolen credit cards. He was arrested in and extradited from
            Cyprus. Vega pled guilty in this district to a cooperation agreement and provided
            historical information regarding his co-conspirators; he later breached his cooperation
            agreement by moving to withdraw his plea and contradicting prior statements.

           In United States v. Albert Gonzalez, No. 08-CR-10223 (D. Mass. 2010), the
            Honorable Patti B. Saris sentenced the defendant to 20 years’ imprisonment,

       11
               The government refers to the cases discussed in this subsection to inform the
Court of other prosecutions that are pertinent to the issues of sentencing disparity. However, the
government is mindful that each defendant was sentenced on the unique facts of his or her case
and that aggravating or mitigating circumstances in one case may not be present in others.

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             following a guilty plea and failed cooperation. Gonzalez and his co-conspirators
             were involved in hacking schemes in which they stole approximately 7,000 credit
             cards from one company and 45 million credit cards from another. Gonzalez was
             arrested in the United States.

               Fraud cases outside the cybercrime context are also useful reference points. The
cases cited below involve fraud defendants who exercised a leadership role in the scheme, used a
company or enterprise that engaged in little to no legitimate business as a front to facilitate the
fraud, and caused losses that were largely incurred by large institutions, rather than individuals:

            United States v. Wider, 14 Cr. 221 (E.D.N.Y. 2016): the defendant was the president
             and sole shareholder of a licensed mortgage bank. The defendant and his co-
             conspirators – which included lawyers, accountants and real estate appraisers –
             engineered sham, insider transactions, defrauding FDIC-insured banks of loan
             principal. The defendant would then securitize and sell the sham mortgages to other
             large financial institutions and investment banks. The scheme caused over $18
             million in actual losses, and the defendant’s bank engaged in no legitimate business
             outside of the scheme. The defendant was sentenced to 150 months.

            United States v. Confredo, 10 Cr. 5274 (S.D.N.Y. 2008): the defendant purportedly
             operated a financial services business that served as the vehicle for his bank fraud
             scheme. Generally, the defendant coordinated the submission of hundreds of
             fraudulent loan applications to large New York City area banks, such as Citibank,
             ostensibly on behalf of hundreds of small businesses. Because the named applicants
             knew that the loan applications were fraudulent, only the lending banks were
             victimized. Actual losses were approximately $10 million. The defendant was
             sentenced to 205 months.

        United States v. Drivas, 10 Cr. 771 (E.D.N.Y. 2013): the defendants operated a
         phony medical clinic that defrauded Medicare through a kickback scheme. The
         lead defendant was the owner and lead physician at the facility and caused $70
         million to be billed for medical services that were never performed, medically
         unnecessary, or performed poorly by unlicensed individuals. The defendant was
         sentenced to 151 months, which the Second Circuit found to be procedurally and
         substantively reasonable. See United States v. Wahl, 563 Fed.Appx. 45 (2d Cir.
         2014) (summary order) (noting that, even if the defendant’s claim that he provided
         legitimate services were true, it would not decrease the loss amount enough to
         alter the total offense level under the Guideline).

       VI.      The Circumstances of This Defendant’s Incarceration
                Do Not Provide a Basis for Significant Mitigation

            The defendant argues that the circumstances of his detention at the MDC during
the COVID-19 pandemic warrant a downward variance.


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                COVID-19 has undoubtedly had a significant impact on everyone’s lives. In the
face of the global pandemic, the MDC modified operations and adopted precautionary measures
to safeguard the health and safety of its inmates, staff, and the community at large. The MDC’s
management of the COVID-19 pandemic has been the subject of litigation, most notably in
Chunn v. Edge, No. 20-CV-1590 (E.D.N.Y. June 9, 2020). In that case, Judge Kovner found that
MDC officials “recognized COVID-19 as a serious threat and responded aggressively,”
“recognize[d] their duty to inmates,” took “swift and extensive countermeasures,” and were
neither exhibiting deliberate indifference nor violating any standard of care. Id. The MDC’s
handling of emergencies has continued to be the subject of litigation, under the supervision of
Chief Judge Brodie, and while the defendant cites one report from that litigation, he fails to note
that the concerns raised in the report were subsequently addressed during the course of that
litigation. See Federal Defenders of NY v. BOP, No. 19-CV-660 (E.D.N.Y.); id., ECF Nos. 130,
134, 139, 143, 145, 151 (biweekly status letters).

                Notably, the report that the defendant references (Def. Ex. M) is not specific to
the defendant, and the defendant does not claim to have suffered from any of the conditions
outlined in the report. Indeed, the defendant was specially positioned at MDC during the
pandemic. He received the COVID-19 vaccine in January 2021, before most of his fellow
inmates, and before a vast majority of Americans were even eligible. In addition, he received a
significant dispensation to depart from his cohort to go to the visiting room on a daily basis and
use his own computer—an extraordinary and exceptional accommodation not afforded to the
vast majority of other defendants. See ECF No. 284, 284-1 (listing the defendant as one of six
inmates in the entire institution with daily privileges to go to the visiting room to review
discovery and noting dates that defendant accepted such access and dates that he refused).

                Given these circumstances, the defendant was not subject to conditions of
incarceration that were unusually harsh as compared to his fellow inmates.12 See United States
v. Murden, No. 20-CR-555 (E.D.N.Y. July 12, 2021) (Matsumoto, J.) (declining to find
incarceration at MDC during the pandemic to be a mitigating circumstance justifying downward
variance from Guidelines range and imposing middle-of-Guidelines sentence).




       12
               This is in contrast to other inmates whose specific circumstances were unusually
harsh and, even as to them, the circumstances provided only slight mitigation, not the windfall of
time-served that the defendant here seeks. Cf. United States v. Garland Battle, No. 20-CR-349
(E.D.N.Y. Apr. 22, 2021) (Komitee, J.) (where Guidelines range was 30 to 37 months and
government requested 21 months, the Court imposed sentence of 27 months in part to account
for “harsher than usual” conditions); United States v. Kenner, No. 13-CR-607 (E.D.N.Y. Oct. 5,
2020) (Bianco, J.), Sentencing Tr. at 100-01 (where Guidelines range for fraud defendant was
262 to 327 months and government asked for 240 months, Judge Bianco imposed sentence of
204 months, in part because defendant submitted “pages and pages, almost like a diary, going
through each incident with the MDC with the guards” and was given unwarranted SHU time, and
in part because defendant was somewhat less culpable than comparable defendant who received
240 months).

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                 Should the Court nevertheless be inclined to consider the defendant’s
incarceration at MDC as a mitigating circumstance, the government notes that it is not sufficient
to justify a sentence substantially below the Probation Department’s recommendation, which
already downwardly departs from the Guidelines range. Indeed, the Second Circuit has recently
cautioned district courts against placing too great reliance on mitigating factors that are
inadequate to justify substantial departures from the Guidelines range. See United States v.
Ceasar, --- F.4th ---, No. 19-2881, 2021 WL 3640387, at *17 (2d Cir. Aug. 18, 2021) (vacating
sentence as substantively unreasonable where district court downwardly departed from
Guidelines range of 360-600 months’ and imposed sentence of 48 months on account of
defendant’s need for rehabilitation from years of trauma and abuse, holding that district court
erred in giving that fact “overwhelming weight while failing to give adequate consideration to
the competing goals of sentencing—including the need for the sentence to protect the public,
deter criminal conduct of the defendant specifically and others generally, promote respect for the
law, and reflect the seriousness of the offense committed”); United States v. Mumuni, 946 F.3d
97, 108 (2d Cir. 2019) (vacating sentence as substantively unreasonable where district court
downwardly departed from Guidelines range of 85 years and imposed sentence of 17 years on
account of defendant’s youth at the time of the offense, lack of criminal record, and lack of
disciplinary infractions during incarceration, holding that those factors could not “bear the
mitigating weight [that the district court] assigned to them”).

                                           Conclusion

                In this case, a sentence consistent with the Probation Department’s
recommendation of 15 years’ imprisonment will appropriately capture the defendant’s conduct,
account for the need to deter the defendant and other cybercriminals operating overseas, and
avoid unwarranted sentencing disparities. The government respectfully submits that such a
sentence would be sufficient, but not greater than necessary, to carry out the goals of sentencing
set forth in 18 U.S.C. § 3553(a).


                                                      Respectfully submitted,

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